       Case 2:20-cv-01583-RFB-VCF Document 17 Filed 01/12/21 Page 1 of 3



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 6   Attorneys for Plaintiff

 7                       UNITED STATES DISTRICT COURT

 8                              DISTRICT OF NEVADA

 9
      BRIAN TERRANCE ALVAREZ-                      Case No.: 2:20-CV-01583-RFB-VCF
10    GILBERG, an individual,

                             Plaintiff,            STIPULATON AND PROPOSED
11    vs.                                          ORDER TO STAY CASE
                                                   PENDING MEDIATION
12    GEICO CASUALTY COMPANY, a
      foreign corporation; DOES I through X;
13    and ROE CORPORATIONS I through
      X, inclusive,
14                           Defendants.

15          Plaintiff, Brian Terrance Alvarez-Gilberg, (hereinafter “Plaintiff”), by and

16   through his attorneys of record, CLAGGETT & SYKES LAW FIRM, and

17   Defendant Geico Casualty Company, (“Defendant”), by and through its

18   attorneys of record, McCORMICK, BARSTOW, SHEPPARD, WAYTE &

19   CARRUTH LLP., hereby stipulate and request an order staying all proceedings

20   and discovery in this matter pending mediation. The parties have agreed to

21   engage in a mediation of all claims presented in Plaintiff’s Complaint. The

22   parties believe that the mediation has a high chance of success, and in an effort

23   to be as efficient as possible, in terms of both time and expenses, would like to

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         Case 2:20-cv-01583-RFB-VCF Document 17 Filed 01/12/21 Page 2 of 3



 1   refrain from conducting expensive and time-consuming discovery while the

 2   mediation is pending. The parties have identified potential mediators and will

 3   be conducting the mediation on or before February 15, 2021. If the mediation is

 4   successful, the case will be resolved in its entirety. Accordingly, the parties

 5   propose the following:

 6            This matter be stayed in its entirety until February 22, 20211. On or

 7   before February 22, 2021, the parties will submit a joint status report to the

 8   Court indicating the result of the mediation and either proposing a discovery

 9   plan and scheduling order or a schedule for completion of the settlement. This is

10   the parties’ first request for a stay in this matter and is made in good faith and

11   not for the purpose of delay. As a trial date has not yet been set in this case, the

12   trial will not be postponed due to the requested stay.

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         Defendant recently served Interrogatories, Requests for Production of Documents, and
23   Requests for Admissions on Plaintiff, and the parties hereby agree responses thereto will be
     due March 24, 2021, should a settlement not be reached.
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       Case 2:20-cv-01583-RFB-VCF Document 17 Filed 01/12/21 Page 3 of 3



 1                                                 Case No.: 2:20-CV-01583-RFB-VCF

 2         Based on the foregoing, the parties respectfully request that the Court

 3   enter an order granting the parties requested relief.

 4 DATED this 28th day of December,          DATED this 28th day of December,
   2020.                                     2020.
 5
   CLAGGETT & SYKES LAW FIRM                 McCORMICK, BARSTOW,
 6                                           SHEPPARD, WAYTE & CARRUTH
                                             LLP
 7
   /s/ Joseph Mott                           /s/ Jonathan Carlson
 8 ________________________________          ________________________________
   Joseph N. Mott                            Jonathan Carlson
 9 Nevada Bar No. 12455                      Nevada Bar No. 10536
   Attorneys for Plaintiff                   Attorneys for Defendant
10

11                                        ORDER

12         IT IS HEREBY ORDERED this matter is stayed in its entirety until

13   February 22, 2021.

14         IT IS FURTHER ORDERED the parties will submit to the Court a joint

15   status report on or before February 22, 2021. The status report will include the

16   results of the parties’ mediation efforts and propose a schedule for the case to

17   proceed either with discovery or the completion of the settlement process.

18         DATED this 12th      day of December,  2020.
                                       January, 2021.

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                                             UNITED STATES DISTRICT JUDGE
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